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                       IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF OREGON



 UNITED STATES OF AMERICA                            Case No. 3:20-cr-00474-IM

        v.                                           OPINION AND ORDER

 KNEKO TYRAY MOORE,

                Defendant.



Scott Erik Asphaug, Acting United States Attorney, Gary Y. Sussman, Jaclyn Jean Jenkins, and
Leah K. Bolstad, Assistant United States Attorneys, United States Attorney’s Office, 1000 SW
Third Avenue, Suite 600, Portland, Oregon 97204. Attorneys for the United States.

Matthew A. Schindler, 501 Fourth Street #324, Lake Oswego, Oregon 97304. Attorney for
Defendant.

IMMERGUT, District Judge.

       The Government seeks to present evidence of gang-affiliated activity at the Lone Fir

Cemetery in Portland, Oregon, on the night of Defendant’s arrest. ECF 61 at 13–15. The

Government is not seeking to elicit testimony or introduce evidence that Defendant is a member

or associate of a gang. Id. at 14. Rather, the Government seeks to introduce evidence that certain



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individuals who gathered at the cemetery were members of or otherwise affiliated with the

Rollin’ 60’s Crips gang, and that some of those individuals have prior felony convictions,

including firearms convictions. Id. The Government further intends to elicit testimony that a

former Rollin’ 60’s member, Patrick Kimmons, is buried at the cemetery,1 and that when gang

members congregate where others are buried, they are often armed because they are vulnerable

to attack by rival gangs. Id.

       The Government submits, through argument on the record during the Pretrial Conference

and in briefing, ECF 67, that the gang-affiliation evidence is relevant and that its probative value

is not substantially outweighed by any prejudicial effect. The Government first argues that the

evidence is relevant to Defendant’s motive: “[e]ven without naming [D]efendant as a gang

member or associate, the fact that he was with gang members at such a gathering would provide

him with a strong motive to arm himself.” Id. at 2. Moreover, the Government argues that

omitting evidence of gang-affiliated activity at the cemetery “would mean presenting an

incomplete picture to the jury and excluding rationally perceived and probative details from their

review.” ECF 61 at 15.

       Defendant argues, without briefing, that while he does not object to testimony that police

officers recognized that certain attendees had prior firearms convictions or were known to arm

themselves, Defendant opposes the use of the word “gang” or “Crips” because it is irrelevant to

the elements of the crime charged and that it is unfairly prejudicial propensity evidence.2



       1
         On the facts presented, this Court finds that eliciting the name of the deceased
individual is irrelevant. This Court ORDERS parties not to refer to “Patrick Kimmons,” with
leave to notify the Court if there is some relevant purpose for referring to the deceased by name.
       2
        Defendant requests that another word besides “gang” be used, such as “group.” See also
ECF 67 at 1 (noting Defendant’s requested use of “guys” at the Pretrial Conference).

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Moreover, as to the motive argument, Defendant argues that there is no evidence he knew that he

was vulnerable to violence at the event and therefore he had no motive to possess a firearm. But

Defendant also represents that a critical part of the defense, as this Court understands it, is that

others attending the gathering possessed firearms, one of which—unbeknownst to Defendant—

ended up in his vehicle.

                                           STANDARDS

       Evidence of gang affiliation may be admissible in a criminal trial. Specifically, “the

Supreme Court and the Ninth Circuit have held evidence of gang affiliation is admissible when it

is relevant to a material issue in the case,” such as when it is used to impeach for bias, show

motive for the crime, or identify the defendant. United States v. Hudson, No. 05-CR-479-BR,

2006 WL 8442825, at *2 (D. Or. Sept. 13, 2006) (collecting cases); see also United States v.

Takahashi, 205 F.3d 1161, 1164 (9th Cir. 2000) (“Evidence of gang affiliation is admissible

when it is relevant to a material issue in the case.”). The Ninth Circuit has affirmed the

admission of gang affiliation evidence where it was “probative and necessary to flesh out the

circumstance surrounding the crime.” United States v. Carlos, 243 F. App’x 290, 291 (9th Cir.

2007) (unpublished); see also United States v. Jones, 346 F. App’x 253, 257 (9th Cir. 2009)

(unpublished) (“The district court did not abuse its discretion by permitting limited gang

testimony, as relevant to explain the genesis of the shoot-out that was inextricably intertwined

with the van’s stop[.]”). Such evidence has also been admitted to show motive. See United States

v. Santiago, 46 F.3d 885, 889 (9th Cir. 1995), United States v. Hudson, 304 F. App’x 510, 511

(9th Cir. 2008). Improper purposes of such evidence, however, include use to prove a substantive

element of the crime, culpability, or guilt by association. United States v. Gomez, 6 F.4th 992,

1006 (9th Cir. 2021) (collecting cases).



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       The Supreme Court has explained that “[a]ssessing the probative value of [gang

affiliation], and weighing any factors counseling against admissibility is a matter first for the

district court’s sound judgment under Rules 401 and 403 and ultimately, if the evidence is

admitted, for the trier of fact.” United States v. Abel, 469 U.S. 45, 54 (1984); see also Gomez, 6

F.4th at 1006. The court may prevent undue prejudice through a limiting instruction. See

Takahashi, 205 F.3d at 1165 (“[A] district court does not abuse its discretion in admitting

relevant gang affiliation evidence when it takes steps to minimize any undue prejudice that could

flow therefrom.”).

       Under Federal Rule of Evidence 401, “[e]vidence is relevant if: (a) it has a tendency to

make a fact more or less probable that it would be without the evidence; and (b) the fact is of

consequence in determining the action.” Fed. R. Evid. 401. “The court may exclude relevant

evidence if its probative value is substantially outweighed by a danger of . . . unfair prejudice,

confusing the issues, misleading the jury, undue delay, wasting time, or needlessly presenting

cumulative evidence.” Fed. R. Evid 403.

                                           DISCUSSION

       On the facts presented here, the Court finds that evidence of gang-affiliated activity is

relevant. The evidence is highly probative of the nature of the gathering Defendant attended, his

motive and the motives of at least some attendees to be armed, and explains the extent of the

police response to the gathering.

       Based on the record before this Court, the probative value of gang affiliation evidence is

not substantially outweighed by the risk of unfair prejudice. As represented at the Pretrial

Conference, a critical part of Defendant’s own defense appears to be that another individual at

the gathering possessed a firearm and put that firearm in Defendant’s vehicle without

Defendant’s knowledge. Accordingly, Defendant does not object to evidence, and indeed expects
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testimony to be presented, that others at the cemetery were armed and had reason to be armed.

Defendant does not object to referring to certain individuals at the cemetery as felons with prior

firearms convictions or that police officers associated those individuals with firearms. What

Defendant apparently objects to is simply calling the group a “gang.” In this Court’s view, any

prejudicial effect of gang-affiliation evidence is significantly diminished by the crux of

Defendant’s own arguments. Moreover, efforts to sanitize the evidence to exclude reference to

gang affiliation, risks confusing the jury, as it fails to explain why the group would be vulnerable

to attacks by rival groups, and therefore fails to explain why members would arm themselves.

        Finally, this Court finds that the evidence is admissible under Rule 404(b) and does not

constitute improper character evidence. See Fed. R. Evid. 404(b). The evidence is not offered “to

prove a person’s character in order to show that on a particular occasion the person acted in

accordance with that character,” but instead “for another purpose, such as proving motive.” Id.

The Court finds that on the facts presented here, the evidence of Defendant’s attendance at a

gathering, which included gang members, is probative of Defendant’s motive to carry a firearm

for protection, and is not improper character evidence. Therefore, the evidence of gang affiliation

of participants at the Lone Fir Cemetery gathering “is relevant to a material issue,” is not

substantially outweighed by unfair prejudice, and is therefore, admissible. Takahashi, 205 F.3d

1164.

                                         CONCLUSION

        For these reasons, the Court finds that the Government—and Defendant—may properly

elicit testimony that some individuals the officers observed at the gathering are known affiliates

of a Portland street gang, and that the officers know that gang affiliates tend to arm themselves

for protection when taking part at large gatherings as they are vulnerable to attack by rival gangs.

Further, the Government may elicit testimony that a former member of this Portland street gang
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is buried in the Lone Fir Cemetery, and that when gang members congregate at such burial sites,

they often arm themselves dues to the likelihood of being attacked by members of a rival gang.

See ECF 61 at 14. As the Government has agreed in its briefing and at the Pretrial Conference,

the Government may not introduce testimony that Defendant is or was a gang member or

associate, or permit the gang-affiliation evidence to become “the entire theme of the trial, so as to

infect the trial with the threat of guilt[ ] by association.” Santiago, 46 F.3d at 889 (internal

quotation marks and citation omitted). This Court prohibits the use of the terms “Rollin’ 60’s

Crips” or “Crips,” as irrelevant and unduly prejudicial. The Court will consider any proposed

limiting instructions submitted by either party. See Abel, 469 U.S. at 54–55 (noting district court

prohibited references to Aryan Brotherhood and gave limiting instruction); Takahashi, 205 F.3d

at 1165.



       IT IS SO ORDERED.

       DATED this 3rd day of December, 2021.


                                                       /s/ Karin J. Immergut
                                                       Karin J. Immergut
                                                       United States District Judge




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